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13
                                      UNITED STATES DISTRICT COURT
14
                                NORTHERN DISTRICT OF CALIFORNIA
15

16
     SHANNON IRELAND-GORDY and                        Case No. 3:23-CV-04119-AMO
17   STEPHANIE IRELAND GORDY,
     individually and on behalf of all others         STIPULATION AND [PROPOSED]
18   similarly situated,                              ORDER CONTINUING INITIAL CASE
                                                      MANAGEMENT CONFERENCE AND
19                      Plaintiffs,                   DEFENDANTS’ DEADLINE TO
                                                      RESPOND TO COMPLAINT
20          v.
                                                      Date Action Filed: 08/14/2023
21   TILE, INC., LIFE360, INC., and
     AMAZON.COM, INC.,
22
                        Defendants.
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                                                                 STIPULATION AND [PROPOSED] ORDER
                                                           CONTINUING CMC AND DEADLINE TO RESPOND
                                                                               CASE NO. 3:23-CV04119
        Case 3:23-cv-04119-RFL Document 21 Filed 10/23/23 Page 2 of 4



 1                                             STIPULATION

 2          Pursuant to Civil Local Rules 6-2 and 7-12, Plaintiffs Shannon Ireland-Gordy and Stephanie

 3   Ireland Gordy (“Plaintiffs”) and Defendants Tile, Inc. (“Tile”), Life360, Inc. (“Life360”), and

 4   Amazon.com, Inc. (“Amazon”) (collectively, “the Parties”), by and through their respective

 5   counsel, hereby agree and stipulate that good cause exists to request an order from the Court

 6   continuing the Initial Case Management Conference in the above-captioned matter until a date

 7   convenient for the Court on or after March 14, 2024 and vacating Defendants’ deadline to answer

 8   the complaint.

 9          WHEREAS, on August 14, 2023, Plaintiffs filed a putative class action lawsuit against

10   Life360, Tile, and Amazon (ECF No. 1, the “Complaint”);

11          WHEREAS, the Court scheduled an Initial Case Management Conference (the “Initial

12   CMC”) for November 16, 2023 (ECF No. 9);

13          WHEREAS, Amazon’s current deadline to respond to the Complaint is October 30, 2023

14   (ECF No. 10.);

15          WHEREAS, the Parties previously stipulated to extend Tile and Life360’s deadline to

16   respond to the Complaint to November 7, 2023 (ECF No. 20);

17          WHEREAS, the Parties wish to engage in private mediation to explore a mutually-agreeable

18   resolution of the claims in the Complaint that would render further litigation unnecessary; and

19          WHEREAS, the Parties have agreed that, in an effort to preserve the Parties’ and Court’s

20   resources, and to accommodate possible early resolution, the Initial CMC should be continued by

21   approximately four months and Defendants’ deadlines to respond to the Complaint should be

22   vacated while mediation is attempted.

23          NOW THEREFORE, the parties, by and through their respective undersigned counsel,

24   hereby stipulate and agree that:

25          1.        The Initial CMC should be continued to a date convenient for the Court on or after

26   March 14, 2024 (the “Continued Initial CMC”);

27          2.        Defendants Life360, Tile, and Amazon’s current deadlines to respond to the

28   Complaint should be vacated and reset, if necessary, by an agreement of the Parties to be reached
                                                                       STIPULATION AND [PROPOSED] ORDER
                                                       2         CONTINUING CMC AND DEADLINE TO RESPOND
                                                                                     CASE NO. 3:23-CV04119
        Case 3:23-cv-04119-RFL Document 21 Filed 10/23/23 Page 3 of 4



 1   promptly after the conclusion of mediation or, if the Parties do not agree, at the Continued Initial

 2   CMC; and

 3          3.      The Parties’ various, interim deadlines that are dependent on the date of the Initial

 4   Case Management Conference (e.g., deadlines to file a joint CMC statement, conduct a Rule 26(f)

 5   Conference, exchange initial disclosures, etc.) shall be reset based on the date of the Continued

 6   Initial CMC.

 7          IT IS SO STIPULATED.

 8

 9   Dated: October 23, 2023                              COOLEY LLP
10

11                                                        By: /s/ Jeffrey M. Gutkin
                                                              Jeffrey M. Gutkin
12
                                                          Attorneys for Defendants
13                                                        Tile, Inc. and Life360, Inc.
14

15   Dated: October 23, 2023                              MILSTEIN JACKSON FAIRCHILD &
                                                          WADE, LLP
16

17
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24                                                            Gordy and Stephanie Ireland Gordy

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                                                                        STIPULATION AND [PROPOSED] ORDER
                                                      3           CONTINUING CMC AND DEADLINE TO RESPOND
                                                                                      CASE NO. 3:23-CV04119
        Case 3:23-cv-04119-RFL Document 21 Filed 10/23/23 Page 4 of 4



 1   Dated: October 23, 2023                              PERKINS COIE LLP

 2

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 8                                                            Attorneys for Defendant Amazon.com,
                                                              Inc.
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                                                    ***
11

12                                            ATTESTATION

13          Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, I, Jeffrey M. Gutkin, hereby

14   attest that concurrence in the filing of this document has been obtained.

15   Dated: October 23, 2023                                /s/ Jeffrey M. Gutkin         _______
                                                            Jeffrey M. Gutkin
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18                                                  ***

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20                                        [PROPOSED] ORDER
21          PURSUANT TO STIPULATION, IT IS SO ORDERED. The Initial Case Management

22   Conference in the above-titled matter is continued to _______________________________.

23

24   Dated: ______________, 2023                          ____________________________________
                                                            HON. ARACELI MARTÍNEZ-OLGUÍN
25                                                          UNITED STATES DISTRICT JUDGE
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                                                                        STIPULATION AND [PROPOSED] ORDER
                                                      4           CONTINUING CMC AND DEADLINE TO RESPOND
                                                                                      CASE NO. 3:23-CV04119
